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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                )         Chapter 11
                                                      )
REPUBLIC METALS REFINING                              )         Case No. 18-13359 (SHL)
CORPORATION, et al.,1                                 )
                                                      )         (Jointly Administered)
                            Debtors.                  )
                                                      )         Related Doc. Nos. 10, 78

                  OMNIBUS REPLY OF THE SENIOR LENDERS
         TO OBJECTIONS TO THE DEBTORS’ CASH COLLATERAL MOTION

         Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), Brown Brothers

Harriman & Co. (“BBH”), Bank Hapoalim B.M. (“Hapoalim”), Mitsubishi International

Corporation (“Mitsubishi”), ICBC Standard Bank Plc (“ICBCS”), Techemet Metal Trading LLC

(“Techemet”), Woodforest National Bank (“Woodforest”) and Bank Leumi USA (“Leumi” and,

together with Rabobank, BBH, Hapoalim, Mitsubishi, ICBCS, Techemet and Woodforest, the

“Senior Lenders”) respectfully submit this reply (the “Reply”) to the objections and responses

(collectively, the “Objections”) filed with respect to the Debtors’ Motion For Entry of Interim

and Final Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate



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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209,
New York, NY 10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378) and
Republic Carbon Company, LLC, 5295 NW 163rd St., Miami Gardens, FL 33014 (5833).
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Protection to the Secured Parties, (III) Scheduling a Final Hearing and (IV) Granting Related

Relief (the “Motion”)2 [Docket No. 10], and in support thereof respectfully state as follows:

                                    PRELIMINARY STATEMENT

        1.      26 Objections have been filed to the Motion. Other than the Committee and

certain insiders of the Debtors, each of the objectors is a purported supplier, customer or lessor of

the Debtors and party to a refining, sale or lease agreement or similar arrangement with a Debtor

(each a “Customer Counterparty”). The Committee itself is comprised of seven Customer

Counterparties, six of which have filed Objections in their individual capacities. No Customer

Counterparty contests that the Debtors have an immediate need to use Cash Collateral or that the

continued use of Cash Collateral is vital to preserve and maximize the value of the Debtors’

estates (nor does the Committee). Rather, substantially all of the Customer Counterparties’

Objections relate to the single issue of who has title to precious metal delivered to the Debtors

prepetition—the Debtors or the Customer Counterparties? If title transferred to the Debtors, the

metal is the property of the estates and is subject to the Senior Lenders’ liens; if it did not, the

Customer Counterparties may have rights senior to the Senior Lenders. This dispute is referred

to herein as the “Inventory Dispute.”

        2.      The Senior Lenders acknowledge that the Inventory Dispute needs to be

addressed prior to the distribution of certain inventory sale proceeds to creditors in these cases.

Accordingly, the Senior Lenders have proposed streamlined procedures to the Debtors and the

Committee for the resolution of the Inventory Dispute (such procedures, the “Customer Claim

Procedures”). The Debtors are in general agreement with the proposed Customer Claim

Procedures. The Committee’s only response was its Objection. The Customer Claim Procedures


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        All capitalized terms used but not defined herein have the meaning ascribed to such terms in the Motion.


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are described in detail below and, if agreed, will be incorporated in the proposed Final Order,

together with any further changes agreed to before the final hearing.

        3.     In order to give the parties more time to discuss the Customer Claim Procedures,

agree on a final Budget (including the treatment of certain proposed payments to insiders and

insider affiliates) and address the issues raised by the Committee’s Objection, the Senior

Lenders, the Debtors and the Committee have agreed to extend the term of the First Interim

Order and the Debtors’ authority to use cash collateral on an interim basis through

December 19, 2018. A proposed second interim cash collateral order (the “Second Interim

Order”) will be filed by the Debtors in advance of the hearing on November 29, 2018.

        4.     For the reasons set forth in the Motion and herein, the Senior Lenders respectfully

request that the Court enter the Second Interim Order.

                                         JURISDICTION

        5.     The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

1334.

        6.     Venue in the Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        7.     The statutory bases for the relief requested herein are sections 105(a), 361, 362,

363, 503 and 507 of the Bankruptcy Code, Bankruptcy Rules 4001, 6003 and 6004 and Local

Rule 4001-2.

                                        BACKGROUND

   A. The Chapter 11 Cases

        8.     On November 2, 2018, (the “Petition Date”), each of the above-captioned debtors

and debtors in possession (collectively, the “Debtors”) filed a voluntary petition for relief under

chapter 11 of the United States Bankruptcy Code (the “Bankruptcy Code”).



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         9.       The Debtors are continuing to operate and manage their properties and assets as

debtors-in-possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in the chapter 11 cases.3

         10.      On November 19, 2018, the Office of the United States Trustee for the Southern

District of New York (the “U.S. Trustee”) appointed the Official Committee of Unsecured

Creditors in these cases (the “Committee”) [Docket No. 113]. The Committee consists of the

following seven members: (i) Coeur Rochester, Inc., (ii) Bayside Metal Exchange, (iii) So

Accurate Group Inc., (iv) Cyber-Fox Trading, Inc., (v) Minera Triton Argentina S.A. (Chair of

the Committee), (vi) Pyropure Inc. and (vii) Minera Real de Ora S.A. de C.V.

         11.      Six of the seven Committee members have filed Objections asserting property

interests in the Debtors’ assets or, alternatively, 503(b)(9) administrative expense claims, in each

case positions demonstrably opposed to the interests of unsecured creditors. See Docket Nos.

146, 147, 164, 178, 181 and 195.

         12.      The factual background relating to the commencement of the chapter 11 cases is

set forth in detail in the Declaration of Scott Avila, as Chief Restructuring Officer, in Support of

Chapter 11 Petitions and First Day Motions (the “First Day Declaration”) [Docket No. 3].

    B. The Senior Lenders’ Relationship with the Debtors

         13.      As described in the First Day Declaration, the Senior Lenders are collectively

owed over $177 million by the Debtors under certain Credit and Lease Agreements. First Day

Decl., Attachment A. The obligations under the Credit and Lease Agreements are secured by

valid and perfected liens on substantially all of the Debtors’ assets, including the Debtors'


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         Given, among other things, the Debtors’ insistence on making continued salary, benefits and rent payments
to various insiders and insider affiliates notwithstanding the serious claims of wrongdoing that exist against them
and the dubious benefit the insiders provide to the Debtors in return for their proposed salaries, the Senior Lenders
reserve their rights to move for appointment of a chapter 11 trustee or move to convert these cases to chapter 7.


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inventory and the Debtors’ cash. Id. ¶ 21. The Senior Lenders continue to incur professional

fees and other expenses, and interest continues to accrue on the amount of their claims on the

terms set forth in their respective Credit and Lease Agreements.

       14.     The Senior Lenders are party to a certain Second Amended and Restated

Intercreditor Agreement, dated as of February 19, 2016 (as amended from time to time, the

“Intercreditor Agreement”), which governs the respective rights and interests of the Senior

Lenders in the assets of Debtor Republic Metals Corporation (“RMC”). Id. ¶ 19. RMC

acknowledged and agreed to the Intercreditor Agreement. Id.

       15.     With the exception of Mitsubishi and ICBCS, each of the Senior Lenders first

entered into Credit and Lease Agreements with the Debtors between January 2016 and October

2017. Id. ¶¶ 23–30.

       16.     The Debtors made certain representations and warranties in the Credit and Lease

Agreements with respect to, among other things, the financial condition and solvency of the

Debtors, the accuracy of the financial statements provided to the Senior Lenders, the Debtors’

compliance with certain financial covenants and the absence of defaults. The Credit and Lease

Documents were all executed either by Jason Rubin, the President and Chief Executive Officer

of the Debtors, and/or David Comite, the Treasurer and Chief Financial Officer of the Debtors.

       17.     Pursuant to the Credit and Lease Agreements, RMC was obligated to periodically

furnish the Senior Lenders with borrowing base reports (the “Borrowing Base Reports”), which

calculated the collateral borrowing base available to support RMC’s existing extensions of credit

and requests for additional extensions of credit under the Credit and Lease Agreements. The

Borrowing Base Reports calculated, among other things, the Debtor’s eligible inventory and

eligible net liquidity in brokerage accounts. Each Borrowing Base Report was executed by



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David Comite and certified both the accuracy of the information contained therein and the

absence of any defaults under the Credit and Lease Agreements.

       18.     In addition to the Borrowing Base Reports, RMC was also obligated to provide

the Senior Lenders with annual and quarterly financial statements pursuant to the Credit and

Lease Agreements. The annual financial statements were audited by independent outside

accounting firms (Crowe Horwath LLP and EisnerAmper LLP) and the quarterly financial

statements were unaudited and delivered with an independent accountants’ compilation report

from Maria I. Machado, P.A.

       19.     In June 2018, the Senior Lenders were first advised by RMC of significant

discrepancies in the value of the Senior Lenders’ collateral as disclosed in the Borrowing Base

Reports. Specifically, the Borrowing Base Certificate delivered to the Senior Lenders on

May 30, 2018 listed eligible inventory of $219,570,312.54 as of May 25, 2018 and a borrowing

base excess of $11,124,342.34. However, the subsequent Borrowing Base Certificate delivered

to the Senior Lenders on June 20, 2018 listed eligible inventory of $144,157,698.29 as of June 8,

2018 and a borrowing base shortfall of $39,486,098.03—a loss of over $75 million in asset value

from one Borrowing Base Certificate to the next—delivered only three weeks later. The loss

remains unaccounted for today. As a result of this precipitous drop in collateral value, a myriad

of defaults were triggered under the various Credit and Lease Agreements, and serious questions

arose regarding management’s competence and honesty.

       20.     The draft financial statements delivered to the Senior Lenders in June 2018 for the

fiscal quarter ending March 31, 2018 further confirmed the apparent massive loss of collateral,

reflecting a decrease in inventory value from $252,322,502 as of March 31, 2017 to

$171,319,259 as of March 31, 2018, a drop of over $80 million.



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         21.      The Debtors attribute the collateral disappearance to “a significant discrepancy in

[the Debtors’] inventory accounting”. First Day Decl. ¶ 36. However, to date, despite millions

of dollars in professional fees paid to the Debtors’ CRO, financial advisor and accounting and

law firms, no satisfactory explanation has been provided for the inventory deficiency and loss of

the Senior Lenders’ collateral. Based on the information provided after the fact, the Senior

Lenders believe that the Debtors may have been insolvent for years, that the Debtors masked

continued operating losses with borrowed funds, and that there are substantial claims against the

Debtors’ insiders and auditors arising from and related to the foregoing. Over the same period,

the Debtors’ officers and shareholders took in excess of $40 million from the Debtors in the form

of dividends, salaries and bonuses.4

         22.      On July 10, 2018, the Senior Lenders served termination, default and demand

notices on RMC that among other things, accelerated all debt obligations and terminated and

liquidated lease obligations under the Credit and Lease Agreements. First Day Decl. ¶ 38.

Despite the existing events of default under the Credit and Lease Agreements, continuing

operational losses, and substantial deterioration in and depletion of the Senior Lenders’

collateral, the Senior Lenders entered into a forbearance arrangement with the Debtors and

agreed to stand still while the Debtors and the Debtors’ principal stakeholders attempted in vain

to consummate either a restructuring or a sale transaction. Following the failure of the out of

court efforts, the Debtors commenced these chapter 11 cases on November 2, 2018.




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         This summary of the inventory issue is provided solely for background purposes. The Senior Lenders
reserve all rights with respect to the Debtors’ financial affairs and any rights, remedies, claims and/or causes of
action, whether at law or in equity, of any of the Senior Lenders against any current and former directors, officers,
principals, agents, advisors, accountants, auditors, consultants, attorneys, employees and other professionals of the
Debtors arising from or related thereto.

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    C. The Cash Collateral Motion

        23.      The Debtors filed the Motion on the Petition Date. The Court heard oral

argument on the Motion at the first day hearing on November 6, 2018. Following argument, the

Court approved the Motion on the record on an interim basis, subject to certain requested

modifications.

        24.      On November 8, 2018, the Court entered its Interim Order Pursuant to 11 U.S.C.

§§ 105, 361, 362, 363, 503 and 507 (I) Authorizing the Debtors to Use Cash Collateral,

(II) Granting Adequate Protection to the Secured Parties, (III) Scheduling a Final Hearing and

(IV) Granting Related Relief (the “First Interim Order”) [Docket No. 54].

        25.      Pursuant to the First Interim Order, the Senior Lenders consented to the Debtors’

use of their collateral to fund the costs and expenses of administering the chapter 11 cases

pursuant to the agreed Initial Budget. The Initial Budget provides for, among other things, the

payment of fees of professional firms retained by the Debtors and the Creditors’ Committee and

a minimum consolidated cash balance of $5 million for the payment of operating expenses. In

exchange, the Senior Lenders were granted Superpriority Claims and Adequate Protection Liens

(both as defined in the First Interim Order) to protect against any further diminution in value of

their collateral.

        26.      Pursuant to Paragraph 5(a) of the First Interim Order, the Debtors’ right to use

cash collateral automatically terminates following, among other things, the first business day that

is 35 days after the Petition Date (unless extended by the Senior Lenders in their sole discretion)

if the Final Order has not been entered by the Court before then. The first business day that is 35

days after the Petition Date is December 7, 2018.




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       27.     It is important to note that once used, the Senior Lenders’ cash collateral is

gone—there is no replacing it given that the Debtors are no longer receiving any new inventory

to process or sell. Accordingly, an integral part of the Motion and the Senior Lenders’ consent to

the use of their collateral is the Debtors’ proposed payment to the Senior Lenders of the cash

proceeds from the sale of the Debtors’ inventory as adequate protection (the “Inventory

Payments”). See First Interim Order, ¶ 8(e). The Inventory Payments were initially estimated at

an aggregate amount of $117 million, to be paid during the week ending December 1, 2018,

subject to entry of the Final Order. Id., Exhibit A. The Debtors’ failure to liquidate substantially

all of their inventory by December 3, 2018 constitutes a Termination Event under the First

Interim Order. Id. ¶ 5(d).

       28.     On November 13, 2018, at the Court’s request, the Debtors and the Senior

Lenders filed the Joint Supplement of the Debtors and the Senior Lenders to the Cash Collateral

Motion [Docket No. 78] to supplement the Motion and explain the basis for the Inventory

Payments and give all parties in interest specific notice of the provision.

       29.     Pursuant to Paragraph 24 of the First Interim Order, a final hearing was scheduled

on the Motion for November 29, 2018.

       30.     In advance of the final hearing, the Debtors notified the Senior Lenders that the

inventory liquidation process would not be completed prior to December 3, 2018, as originally

expected and, in fact, would not be completed for “several months” and that the proceeds would

be substantially less than the $117 million amount specified in the First Interim Order. Further,

the Debtors informed the Senior Lenders that certain insiders of the Debtors were demanding

lease payments for property leased to the Debtors (formerly purchased with “loans” and

“bonuses” made by the Debtors to the insiders) as well as the continued payment of salaries and



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other compensation for their purported services to the Debtors.5 The Senior Lenders are not

willing to consent to these payments given the substantial claims that exist against the insiders.

The Committee also filed an Objection asserting a litany of issues without previously reaching

out to the Senior Lenders or the Debtors to request any changes or modifications to the form of

Order. As a result, the parties have been unable to agree to a consensual Final Order in advance

of the hearing. However, the parties are working on a consensual Second Interim Order to

extend the Debtors’ authority to use cash collateral on an interim basis while the parties to

continue evaluate the aforementioned issues.

                                                  REPLY

    A. The Senior Lenders Have Valid and Perfected First Priority Liens on the Debtors’
       Assets

       31.     The Debtors stipulated to the validity, perfection, priority and enforceability of

the Senior Lenders’ liens and claims in the First Interim Order. See First Interim Order ¶ F.

Accordingly, the Debtors have recognized and do not dispute the validity, priority or amount of

the Senior Lenders’ liens and claims. The Senior Lenders voluntarily provided copies of their

loan documents and UCC-1 financing statements to the Committee within 24 hours of the




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       See Objection of Jason Rubin, Lindsey Rubin, Rose Rubin and certain affiliated entities at Docket No. 199.

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Committee’s formation. The Committee has begun its review of the relevant documentation and

the Senior Lenders intend to cooperate with all inquiries in connection therewith.6

         32.      UCC-1 searches reflect that the Debtors have no secured creditors other than the

Senior Lenders and that not a single Customer Counterparty filed a UCC-1 financing statement

against the Debtors. Accordingly, while the Senior Lenders recognize that other creditors may

have claims against the Debtors’ estates (including, without limitation, reclamation claims and

503(b)(9) claims), such claims are unsecured and subordinate in all respects to the Senior

Lenders’ secured claims.7 No party can reasonably dispute this fact.

    B. The Legal Issues in Connection with the Inventory Dispute Are Narrow and Will Be
       Duly Resolved by the Proposed Customer Claim Procedures

         33.      To date, 24 Objections to the Motion have been filed by Customer Counterparties

(including six members of the Committee). A summary of the Objections is attached hereto as

Exhibit 1. The Objections can generally be categorized into six groups: (1) six reclamation and



6
         The Committee’s Objection makes conclusory statements about the liens and claims of certain Senior
Lenders (although, by its own admission, it has not conducted any meaningful investigation of the Senior Lenders’
liens and claims and in fact requests $200,000 of additional professional fees to conduct this very investigation).
See Docket No. 193 ¶ 3. Adequate protection is not provided to a prepetition secured creditor based on speculation
as to what might happen later in a bankruptcy case. Whatever claims against the Senior Lenders the Committee
believes may exist—and the Senior Lenders submit there are no viable claims—will be addressed by the Court in
due course. The Committee’s offhanded comments regarding the nature of the Senior Lenders’ claims and liens do
not obviate the need of the Debtors to provide adequate protection for use of cash collateral. Moreover, the Interim
Order and the proposed Final Order provide adequate safeguards in the unlikely event a lien or claim challenge
against the Senior Lenders is successful.
          Similarly, the Committee’s Objection states that the Debtors have not provided a document demonstrating
that certain Senior Lenders were granted a lien on all personal property of RMC. See id. Section 6(a) of the
Intercreditor Agreement, a copy of which has been delivered to the Committee, provides that “all Security
Instruments shall secure all Obligations of [RMC] to all [Senior Lenders], as if such Security Instruments
specifically described the Obligations and specifically granted a lien or security interest on or in the property
covered thereby to secure same”. RMC executed the Intercreditor Agreement specifically acknowledging and
agreeing to the terms thereof for all purposes.
7
         See, e.g., In re Dairy Mart Convenience Stores, Inc., 302 B.R. 128, 134-36 (Bankr. S.D.N.Y. 2003)
(holding that reclamation claims were without value in light of a secured lender’s prior floating lien on the debtor’s
inventory); see also 11 U.S.C. § 546(c) (subjecting a seller’s right to reclaim goods to “the prior rights of a holder of
a security interest in such goods or the proceeds thereof . . .”); 11 U.S.C. § 503(b)(9) (providing sellers with an
unsecured administrative claim for the value of any goods sold in the ordinary course of business and received by
the debtor within 20 days of the bankruptcy filing).

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503(b)(9) claims; (2) eight bailment claims based on the Debtors’ Standard Terms and

Conditions; (3) four bailment claims based on agreements other than the Debtors’ Standard

Terms and Conditions; (4) one claim based on an unsecured lease agreement; (5) four claims to

finished goods based on alleged prepayments; and (6) one claim to carbon products.

       34.     As described above, no Customer Counterparty filed a UCC-1 financing

statement against the Debtors. Accordingly, to the extent that a Customer Counterparty’s

arrangement with a Debtor is a secured financing transaction that created a security interest in

metal it delivered to the Debtors, its interest is unperfected and subject to avoidance. See, e.g.,

General Motors Corp. v. Bristol Indus., Corp., 38 U.C.C. Rep. Serv. 989 (Bankr. D. Conn. 1981),

rev’d on procedural grounds, 690 F.2d 26 (2d Cir. 1982) (holding that a tolling agreement

between a customer and a debtor copper refinery did not create a bailment and that the

customer’s retention of title in scrap metal shipped to the debtor and the debtor’s

debiting/crediting of a toll account created a security interest in favor of the customer which

must be perfected in accordance with Article 9 of the Uniform Commercial Code). Similarly, to

the extent that a Customer Counterparty’s arrangement with a Debtor is a consignment, there are

also Uniform Commercial Code filing requirements that were not met by any Customer

Counterparty. See NY U.C.C. §§ 9-324(b) & 9-515.

       35.     As a result, the Customer Counterparties sole recourse is to argue that such parties

retained title to metals delivered to the Debtors prepetition. Several of the Customer

Counterparties attempt to establish title by asserting bailment arguments. See, e.g., Docket Nos.

144, 146, 148, 161, 162, 178 and 185. While the Customer Counterparties generally cite the

correct factors for establishing a bailment, each fails to establish how its relationship with the

Debtors gave rise to a bailment as opposed to a sale transaction. Specifically, (a) none of the



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customer contracts refers to a bailment; (b) the majority of contracts expressly provide that they

are agreements for “refining and forward/spot sales of precious metal” or “refining and

purchase of doré”, refer to the Debtors as “the Buyer” and the customer as “the Seller”, or

otherwise contain terms indicative of a purchase and sale transaction; (c) the contracts generally

require the Debtors to purchase refined product, with payment in the form of a purchase price

established by an agreed-upon formula or in refined metal of like kind and quality less a

processing fee; (d) the contracts generally provide that risk of loss transfers to the Debtors upon

delivery at the Debtors’ facility or upon receipt at the customer’s mine; (e) the contracts

generally do not provide that title to metal remains with the customer nor do they grant

customers the right to demand the return of metal after weight is confirmed; (f) the contracts

generally do not provide for, nor did the parties contemplate, that metal would remain separate

and identifiable after commencement of the refining process; (g) all metal delivered to the

Debtors was commingled promptly after receipt as part of the refining process; (h) none of the

contracts provides that the applicable customer will receive the refined metal actually recovered

from the identical raw materials delivered by it to the Debtors; and (i) the Debtors’ accounting

records include all metal delivered by customers as the Debtors’ inventory. Each Customer

Counterparty could have taken a security interest in the metal it delivered to the Debtors. None

did.

        36.      In support of their arguments, the Customer Counterparties rely primarily on two

factually distinguishable cases8 and fail to cite a subsequent case arising from one of the same

bankruptcy proceedings that is completely analogous to the case at hand. Wesgo Div. of GTE




8
         In re Medomak Canning Co., 25 U.C.C. Rep. Serv. 437 (Bankr. D. Me. 1977), aff’d, 588 F.2d 818 (1st Cir.
1978); and Eastman Kodak Co. v. Harrison (In re Sitkin Smelting & Ref., Inc.), 639 F.2d 1213 (5th Cir. 1981).


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Prods. Corp. v. Harrison (In re Sitkin Smelting & Ref., Inc.), 648 F.2d 252 (5th Cir. 1981)

(distinguishing the contract in Eastman Kodak as “somewhat unique” and holding that an

agreement for the refining of scrap metal did not create a bailment and was instead a contract for

sale for future goods where the debtor “agreed to either purchase the precious metals recovered

upon processing or return metals of like kind and quality less a processing fee”).

         37.      Moreover, the Customer Counterparties further fail to mention that the

commingling of metal delivered to the Debtors renders them no better than general unsecured

claimants. See, e.g., In re Delta Smelting & Refining, Inc., 53 B.R. 877, 882 (Bankr. D. Alaska

1985) (holding that “[e]ven where property subject to a bailment is sold, if the proceeds are not

segregated or traceable, it is clear that the claimant is relegated to the status of a general

unsecured creditor” where silver bars delivered to debtor were commingled and unidentifiable as

of the petition date) (citing In re United Precious Metals, Inc., 39 B.R. 14 (Bankr. S.D. Fla.

1984); In re STN Enterprises, Inc., 45 B.R. 935 (Bankr. D. Vt. 1984)).9 Given the Senior

Lenders’ understanding of the Debtors’ operations and refining process, it will be impossible for

Customer Counterparties to trace metal delivered to the Debtors prepetition, substantially all of

which has been sold in the ordinary course or was otherwise processed promptly upon receipt

and currently consists of commingled work in process inventory or finished product.

         38.      These issues will be litigated in the coming months and need not be resolved prior

to the entry of the Second Interim Order or any proposed Final Order.



9
         One Customer Counterparty acknowledges this issue but attempts to skirt it by citing two cases regarding
contracts for the delivery of natural gas through pipelines for the proposition that a bailment in not destroyed by the
commingling of fungible products. See Docket No. 144 § 9 (citing In re Enron Corp., 2003 Bankr. Lexis 2262, * 7
(Bankr. S.D.N.Y. 2003); and Public Service Electric & Gas Co. v. Federal Power Commission, 371 F.2d 1 (3d Cir.
1967). Both cases involved natural gas that was merely transported through a pipeline and not altered in any form.
Accordingly, the cases are wholly inapposite of the Debtors’ refinement of doré and scrap metal into finished metal
products.


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                        PROPOSED CUSTOMER CLAIM PROCEDURES

        39.      In an effort to proactively address the Customer Counterparties’ claims while

preserving the rights of all parties in interest, the Senior Lenders conferred with the Debtors and

the Committee to establish Customer Claim Procedures for the expedited and streamlined

resolution of the Inventory Dispute. The proposed Customer Claim Procedures are summarized

below:10

                 (1) Document Production. The parties shall produce, on an expedited basis, the
                     documents relevant to their respective claims and defenses set forth below.
                     This production will be without prejudice to all parties’ rights to serve formal
                     discovery notices and to request additional documents as may be appropriate.

                           i. Debtors: All contracts, amendments, standard terms, and other
                              agreements relating to the Customer Counterparties’ claims; metal
                              delivery documents for the metal that is the subject of the Customer
                              Counterparties’ claims; ledger accounts and other bookkeeping records
                              relating to the Customer Counterparties’ claims; and correspondence
                              with the Customer Counterparties regarding their claims.

                          ii. Senior Lenders: All loan documents, amendments, intercreditor
                              agreements, forbearance agreements, UCC-1 filings and related lien
                              perfection documents and statements of amounts due.

                         iii. Customer Counterparties: All contracts, amendments, standard terms,
                              and other agreements supporting the Customer Counterparties’ claims;
                              metal delivery documents for the metal that is the subject of their
                              claims; ledger accounts and other bookkeeping records relating to their
                              claims; and correspondence with the Debtors regarding their claims.

                 (2) Depositions. To be agreed; all parties’ rights to be reserved.

                 (3) Meet and Confer. The parties will conduct a “meet and confer” to discuss and
                     attempt to resolve any discovery disputes prior to the initial status conference
                     (see paragraph (4) below).

                 (4) Initial Status Conference. The parties shall appear in Bankruptcy Court for a
                     status conference on December 19, 2018, subject to the Court’s calendar, to
                     report on the status of document production, any discovery disputes, any
                     additional discovery that may be required, and the scheduling of further


10
          The Senior Lenders believe that the Debtors are in agreement with these procedures. As of the time of the
filing of his Reply, the Committee has not formally responded.

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                      proceedings. The parties shall submit a joint status conference agenda one
                      day before the conference.

                  (5) Adversary Proceedings. All pending adversary proceedings will be held in
                      abeyance pending the resolution of the contested matters commenced by the
                      filing of the various Customer Counterparties’ Objections.11 All discovery
                      taken in connection with the objections shall be deemed to have been taken in
                      the relevant adversary proceeding, without prejudice to the parties to the
                      adversary proceeding being able to serve formal discovery notices and to
                      request additional discovery as may be appropriate, or to object to the same.

                  (6) Hearing and Dispositive Motions. The parties shall make every effort to
                      resolve the objections by dispositive motion, without the need for live
                      testimony, on an expedited basis and in accordance with a schedule to be
                      agreed and submitted to the Court as soon as practicable.

         40.      The Senior Lenders submit that the Customer Claim Procedures are in the best

interests of the Debtors and all parties-in-interest, and will allow the chapter 11 cases to move

forward in an efficient and expedient manner without prejudicing the rights of any party. The

Customer Claim Procedures will be incorporated into the proposed Final Order and the Senior

Lenders remain willing to confer with and address the concerns of any parties in interest.

                                      RESERVATION OF RIGHTS

         41.      The Senior Lenders invited the Committee to discuss any issues related to cash

collateral prior to the Committee filing an objection to the Motion. The Committee declined to

request any modifications or negotiate the form of Order prior to filing its Objection. Setting

aside the Inventory Dispute (which is addressed by the proposed Customer Claim Procedures),12

the majority of the issues raised in the Committee’s Objection are boilerplate creditors’

committee cash collateral objections, including but not limited to: (a) replacement liens on


11
        As of the date hereof, the Senior Lenders are only aware of one such adversary proceeding. Cornerstone
Asset Metals, LLC v. Republic Metals Refining Corporation, et al., Adv. Pro. No. 18-01771 (SHL).
12
          Although the Committee claims that it “takes no position at this time” as to the outcome of the Inventory
Dispute, its Objection is replete with references designed to protect the parochial interests of its members. The
Committee is chaired by, and comprised entirely of, purported holders of property rights and administrative claims
that allege they do not hold unsecured claims and cannot be expected to serve as fiduciaries for the estates or any
parties in interest other than themselves.

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unencumbered property; (b) releases of the Senior Lenders; (c) waiver of marshaling; (d) waiver

of any collateral surcharge rights of the Debtors under Section 506(c); (e) waiver of the Section

552(b) “equities of the case” exception; (f) amount of the Committee’s investigation budget and

length of the Challenge Period; (g) adequate protection payments for the interest, fees and

expenses of the Senior Lenders;13 and (h) certain termination events and remedies.

         42.      All of these provisions were negotiated with the Debtors, are reasonable and

customary in cash collateral orders, and Courts in this District have routinely approved similar

adequate protection packages in other chapter 11 cases. See, e.g., In re Cumulus Media Inc., No.

17-13381 (SCC) (Bankr. S.D.N.Y. Dec. 21, 2017) (Docket No. 164); In re Aeropostale, Inc., No.

16-11275 (SHL) (Bankr. S.D.N.Y. December 21, 2017) (Docket No. 1586); In re Ultrapetrol

(Bahamas) Ltd., No. 17-22168 (RDD) (Bankr. S.D.N.Y. Mar. 8, 2017) (Docket No. 108); In re

Transmar Commodity Group Ltd., No. 16-13625 (JLG) (Bankr. S.D.N.Y. Feb. 10, 2017)

(Docket No. 119); In re Atlas Resource Partners, L.P., No. 16-12149 (SHL) (Bankr. S.D.N.Y.

August 29, 2016) (Docket No. 132); In re Primorsk Int’l Shipping Ltd., No. 16-10073 (MG)

(Bankr. S.D.N.Y. Feb. 18, 2016) (Docket No. 64); In re Sabine Oil & Gas Corp., No. 15-11835

(SCC) (Bankr. S.D.N.Y. Sept. 16, 2015) (Docket No. 339); In re Lightsquared Inc., No. 12-


13
          The Committee questions the Senior Lenders’ entitlement to payment of fees, interest and expenses. Even
assuming, arguendo, that the Senior Lenders are unsecured, undersecured creditors are entitled to adequate
protection in the form of periodic cash payments under the Bankruptcy Code. See Gonzalez Class Action Plaintiffs
v. Freedom Commc’ns Holdings, Inc. (In re Freedom Commc’ns Holdings, Inc.), Case No. 09-13046 (BLS), 2009
2009 U.S. Dist. LEXIS 113725, at *4 (D. Del. Dec. 4, 2009) (“the bankruptcy code permits a secured creditor,
including an undersecured creditor, to receive periodic adequate protection payments against the risk of diminution
in value of the collateral.”) (citations omitted). Courts in this District and others have routinely permitted adequate
protection payments to be made to undersecured creditors where, as here, the cash collateral order provides that
those payments can be recharacterized. See infra ¶ 42. The Senior Lenders are not being paid postpetition interest,
fees and expenses under Section 506(b). Objection ¶ 47. Rather, the Debtors are making adequate protection
payments under Section 361 to compensate the Senior Lenders for the decrease in the value of their interest in the
prepetition collateral in an amount equal to the interest that would be paid under the Secured Credit/Lease
Documents, plus fees and expenses incurred by the Senior Lenders’ professionals.
         Moreover, the Senior Lenders are each entitled to retain their own professionals under their respective
Credit and Lease Documents. However, the Senior Lenders voluntarily agreed to hire a single primary bankruptcy
counsel, a single Florida counsel and a single financial advisor in order to minimize costs to the estates.

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12080 (SCC) (Bankr. S.D.N.Y. Apr. 8, 2015) (Docket No. 2304); In re Inversiones Alsacia S.A.,

No. 14-12896 (MG) (Bankr. S.D.N.Y. Nov. 5, 2014) (Docket No. 74); In re Boston Generating

LLC, No. 10-14419 (SCC) (Bankr. S.D.N.Y. Sept. 22, 2010) (Docket No. 165); and In re Charter

Commc’ns, Inc., Case No. 09-11435 (JMP) (Bankr. S.D.N.Y. Apr. 15, 2009) (Docket No. 193).

       43.     The Committee, purportedly acting on behalf of all unsecured creditors, appears

to want unfettered access to the Senior Lenders’ cash collateral, no meaningful adequate

protection granted to the Senior Lenders for the undeniable decrease in the Senior Lenders’

collateral position, the payment of all 503(b)(9) claims (including those of the Committee

members) out of the Senior Lenders’ collateral, and an excessive investigation budget to review

documents already provided to the Committee. Not one Committee member has offered to

finance the Debtors, ship metal to the Debtors or otherwise pay the expenses of the Debtors’

chapter 11 cases out of their alleged “property rights” as the Senior Lenders have. Yet, the

Committee seeks to deny the Senior Lenders basic protections under the Bankruptcy Code.

       44.     The Senior Lenders reserve all rights with respect to the issues raised in the

Committee’s Objection and whether the individual members of the Committee have conflicts of

interests. Notwithstanding the foregoing, the Senior Lenders remain open to discussing the

Committee’s Objection in advance of the final hearing and hope to be in a position to present a

consensual Final Order to the Court agreeable to the Senior Lenders, the Debtors and the

Committee.

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                                         CONCLUSION

       WHEREFORE, for the reasons set forth herein, the Senior Lenders respectfully request

that the Court (i) approve the Second Interim Order and (ii) grant such other and further relief as

is just and proper.


 Dated: New York, New York                           Respectfully submitted,
        November 28, 2018

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                                                     Counsel for Senior Lenders




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                                          Exhibit 1

                     Summary of Customer Counterparty Objections

   1. Reclamation and Section 503(b)(9) Claims.

  Docket                         Party                       Claim Amount Asserted in
   No.                                                                Objection
   147     Argonaut Gold Inc.                              $5.87 million
           (Compania Minera Pitalla, S.A. de C.V.
           Minera Real de Oro S.A. de C.V.
           (member of the Committee))

           First Majestic Silver Corp.                     $8.36 million
           (Nusantara de Mexico S.A. de C.V.)

           Mitchell T. Levine
           (Erie Management Partners and Plat/Co.)         $8.04 million
   152     Alex Morningstar Corp.                          Unspecified
           Deb Schott, Inc.
           FCP Diamonds LLC
           Mid-States Recycling Inc.
           Noble Metal Services, Inc.
   158     Minas de Oroco Resources, S.A. de C.V.          Unspecified
   159     Tiffany and Company (Laurelton Sourcing, LLC)   Unspecified
   178     Compania Minera Dolores, S.A. De CV             $4,879,440
           Minera Triton Argentina SA
           (chair of the Committee)
   195     Cyber-Fox Trading Incorporated                  Unspecified
           (member of the Committee))

   2. Claim under Unsecured Lease Agreement.

 Docket                         Party                        Claim Amount Asserted in
  No.                                                                Objection
  137      SCMI US Inc. (Sumitomo)                         $8,652,000

   3. Bailment Claims Based on Debtors’ Standard Terms and Conditions.

 Docket                          Party                      Claim Amount Asserted in
  No.                                                                Objection
  185      Brilliant Jewelers/MJJ Inc. (Anjay Corp.)       Unspecified
  148      Midwest Refineries, LLC                         Unspecified
  157      Music City Group, LLC                           Unspecified
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   163    Design Gold Group, Inc.                          $160,000
   164    Pyropure, Inc. d/b/a Pyromet                     $1,838,212
   174    Ottawa Gold Buyer                                Unspecified
          Vancouver Gold Buyer
          7907109 Canada Inc.
   181    So Accurate Group, Inc.                          $3,920,469.44
          (member of the Committee)
   185    Brilliant Jewelers/MJJ Inc. (Anjay Corp.)        Unspecified

   4. Bailment Claims Based on Agreements other than the Debtors’ Standard Terms and
      Conditions.

 Docket                         Party                       Claim Amount Asserted in
  No.                                                                 Objection
  144     Premier Gold Mines Limited                       $9.9 million
  146     Coeur Mexicana S.A. De C.V.                      $13,841,377.27 (total)
          Coeur Rochester, Inc.
          (member of the Committee)
          Warf Resources (USA)
   161    Pretium Exploration Inc.                         Unspecified
   162    Yamana Gold Inc.                                 $8,030,844.01

   5. Claims to Finished Goods Based on Alleged Prepayments.

 Docket                         Party                       Claim Amount Asserted in
  No.                                                                Objection
  135     Cornerstone Asset Metals, LLC                    Unspecified
  154     Texas Precious Metals, L.L.C.                    $130,700
  156
  189     APMEX, Inc.                                      $7,628,966.30
  202     Prince & Izant Company                           $492,780

   6. Claims to Carbon Products.

 Docket                         Party                          Claim Amount Asserted in
  No.                                                                 Objection
   117    Alamos Gold Inc.                                  $2,586,969.418 [sic]
   121    Minas de Oro Nacional, S.A. de C.V.
          Miner Santa Rita S. de. R.L. de C.V.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of November, 2018, I caused a true and correct copy

of the foregoing Omnibus Reply of the Senior Lenders to Objections to the Debtors’ Cash

Collateral Motion to be filed and served through ECF notification upon all parties who receive

notice in this matter pursuant to the Court’s ECF filing system.


                                                     /s/ Michael Luskin
                                                     Michael Luskin
